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                EXHIBIT D
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 9
     Attorneys Appearing in a Limited Capacity for
10   Counter-Defendants Boon Global Limited, F8
     Vietnam Company Limited, California Fitness &
11   Yoga Centers, California Management Group,
     and Randy Dobson
12
                              UNITED STATES DISTRICT COURT
13
                            NORTHERN DISTRICT OF CALIFORNIA
14
     PARKRIDGE LIMITED, a Hong Kong corporation, by
15   Mabel Mak, and MABEL MAK, an individual,
16                               Plaintiffs,
     v.                                             Case No. 16-cv-07387
17
     INDYZEN, INC., a California corporation, and PRAVEEN [PROPOSED] ORDER
18   NARRA KUMAR, an individual,                          GRANTING RANDY DOBSON’S
                                    Defendants.           MOTION TO DISMISS
19                                                        INDYZEN’S PETITION TO
20   INDYZEN, INC., a California corporation, and PRAVEEN COMPEL ARBITRATION
     NARRA KUMAR, an individual,                          PURSUANT TO FRCP 12(b)(2),
                                    Counter-Plaintiffs,   12(b)(3), AND (12)(b)(6)
21
     v.
22                                                        Date:    February __, 2018
     PARKRIDGE LIMITED, a Hong Kong corporation, BOON     Time:    N/A
23   GLOBAL LIMITED, a Hong Kong corporation, F8 Dept.: N/A
24   VIETNAM COMPANY LIMITED, a Vietnam company, Judge: Hon. Jeffrey S. White
     CALIFORNIA FITNESS & YOGA CENTERS, an entity of
25   unknown form, CALIFORNIA MANAGEMENT GROUP,
     an entity of unknown form, and RANDY DOBSON, an
26   individual,
                                    Counter-Defendants.
27
28
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                                             [PROPOSED] ORDER
 1

 2          This matter having come before the Court on Counter-Plaintiff Indyzen, Inc.’s (“Indyzen”)

 3   Petition to Compel Arbitration (the “Petition”) as to Randy Dobson (“Mr. Dobson”), due notice having

 4   been given, and the Court being fully advised,
 5          IT IS HEREBY ORDERED:
 6
            1.        Mr. Dobson’s Motion to Dismiss the Petition is hereby GRANTED. This Court does
 7
     not have personal jurisdiction and venue over Mr. Dobson as required by Federal Rules of Civil
 8
     Procedure 12(b)(2) and 12(b)(3). Furthermore, to the extent that this Court has jurisdiction, the Petition
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10   should also be dismissed pursuant to Federal Rule of Civil Procedure 12(b)(6) for failure to properly

11   state a claim. Indyzen’s claims against Mr. Dobson fall outside the scope of the arbitration clause agreed

12   to by Indyzen and Parkridge Limited.
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            2.        Mr. Dobson is dismissed from this matter with prejudice.
14

15   Dated: _____________________                                  ______________________________
                                                                   HONORABLE JEFFREY S. WHITE
16                                                                 UNITED STATES DISTRICT JUDGE
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28   [Proposed] Order Granting                        -2-                                    No. 16-cv-07387
     Mr. Dobson’s Mot. to Dismiss
